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                                                          May 28, 2025

     VIA ECF

     Honorable Renée Marie Bumb                                        Honorable Thomas I. Vanaskie (Ret.)
     United States District Court                                      Special Master
     Mitchell H. Cohen Building and                                    Stevens & Lee
     U.S. Courthouse                                                   1500 Market St., East Tower,
     Courtroom 3D                                                       Suite 1800
     4th and Cooper Streets                                            Philadelphia, Pennsylvania 19103
     Camden, New Jersey 0810

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875 (D.N.J.)

     Dear Chief Judge Bumb and Judge Vanaskie:

                Please accept this letter on behalf of the Plaintiffs in advance of the May 30,

     2025 case management conference.

          1. 30(b)(6) Deposition Regarding ZHP Certificates of Analysis, Material
             Safety Data Sheets, and Related Documents.

                The Parties are continuing to meet and confer to schedule the 30(b)(6)

     deposition on ZHP’s certificates of analysis, material safety data sheets, and related

     documents.
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 Honorable Renée Marie Bumb, U.S.D.J.
 Honorable Thomas I. Vanaskie (Ret.)
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    2. Wave 2 DFS Amendments.

       The Parties are continuing to meet and confer regarding the Wave 2 DFS

 amendments. Specifically, the Parties are attempting to identify the quantities of

 ZHP API used to create Teva's finished dose lots, where Teva combined multiple

 lots of API to create a single finished dose lot. This information is necessary to

 determine the NDMA levels in Teva's FD product, which is highly relevant to

 Plaintiffs' expert witnesses and their reports. Should the parties be unable to reach

 agreement on this issue, Plaintiffs may require a 30(b)(6) corporate representative

 deposition.

    3. CMO 38 Product ID Deficiencies.

       Plaintiffs will be prepared to discuss this at the CMC.

    4. PFS Deficiencies.

       Plaintiffs will be ready to address this at the CMC.

                                 Respectfully,


                                 ADAM M. SLATER

 Cc: All counsel of record (via ECF)
